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                                                                                   2024 Jan-25 PM 03:34
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

DAMEION RASHAD KENNEDY,                 )
                                        )
      Plaintiff,                        )
                                        )
      v.                                )       Case No.: 2:23-cv-01510-NAD
                                        )
EXPERIAN INFORMATION                    )
SOLUTIONS, et al.,                      )
                                        )
      Defendants.                       )

                                       ORDER

      On November 7, 2023, Plaintiff Dameion Rashad Kennedy filed a complaint

against Defendants Experian Information Solutions, Inc., Trans Union, and Equifax

Information Services, LLC. Doc. 1. On January 4, 2024, Defendants filed a joint

motion to dismiss the complaint. Doc. 9. The parties then were ordered to enter

their elections regarding the exercise of dispositive jurisdiction by a magistrate judge

pursuant to 28 U.S.C. § 636(c) by no later than February 20, 2024. Doc. 14.

      This case also was set for a telephone conference on January 25, 2024. Doc.

14.

      Plaintiff Kennedy did not appear for that telephone conference. See minute

entry, entered: 01/25/2024.

      Defendants “Joint Motion To Stay Discovery Pending Their Joint Motion To

Dismiss” (Doc. 18, January 19, 2024) is GRANTED IN PART. In light of the

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pending motion to dismiss (Doc. 9), all discovery—including the parties’ obligations

to conduct a Rule 26(f) planning conference, exchange initial disclosures, and file a

Rule 26(f) report of the parties’ planning meeting, see Doc. 15—is STAYED until

all of the parties have entered their elections regarding magistrate judge jurisdiction.

After all parties have made their elections, either the undersigned or a district judge

will decide whether to stay discovery until the pending motion to dismiss is resolved.

      In addition, Kennedy’s “Motion For Extension Of Time” (Doc. 19, filed

January 22, 2024) is GRANTED. Kennedy’s response to the motion to dismiss is

due on or before February 19, 2024. Defendants’ reply brief(s), if any, are due on

or before March 4, 2024.

      DONE and ORDERED this January 25, 2024.



                                        _________________________________
                                        NICHOLAS A. DANELLA
                                        UNITED STATES MAGISTRATE JUDGE




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